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                                                                                     FILED
                                UNITED STATES DISTRICT COURT
                             FOR THE EASTERN DISTRICT OF VIRGINIA
                                                                                         1 0 2010
HREW, L.L.C.,
a Virginia limited liability company                                        CLfcRK, U.S. DISTRICT COUP T
                                                                                   NORFOLK. VA

                Plaintiff,


V.                                                          CASE NO.


INTERNATIONAL INTRANCO, INC.,
a Virginia corporation


                Defendant.


         SERVE:          WILLIAM B. LAKE, REGISTERED AGENT
                         1600 TYSONS BOULEVARD, SUITE 800
                         MCLEAN, VA 22102


                                         COMPLAINT


         Plaintiff, HREW, L.L.C., a Virginia limited liability company ("Plaintiff), by counsel,


moves this Honorable Court for relief against Defendant International Intranco, Inc., a Virginia


corporation ("Defendant"), and states the following in support:


                                    JURISDICTION & VENUE


         1.     Plaintiff HREW, L.L.C. is a Virginia limited liability company which operates a


centralized examination station (the "CES") at 420 Woodlake Drive, Chesapeake, Virginia


23320.


         2.     Defendant International Intranco, Inc. is a Virginia corporation whose principal


place of business is 1600 Tysons Boulevard, Suite 800, McLean, Virginia 22102, or at 4041


University Dr., Suite 403, Fairfax, VA 22030.


         3.     Defendant is the owner of 890 Boxes/Cartons of Frozen Swine Pork Back Fat (the


"Cargo"), stored in Container No. APRU5096059 (the "Container") at the CES from August 27,

2009 until July 29,2010.
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          4.    Plaintiff is seeking damages for violations of 19 U.S.C. §1499 et. seq. and 19

CFR Ch. I, Parts 118 (4100 Ed.) for violations of the statute and regulations governing

centralized examination stations.


          5.    Pursuant to 19 U.S.C. §1499 and 19 CFR Ch. I, Parts 1-18, this Court has

subjection matter jurisdiction to hear this case.


                                               FACTS


          6.    Plaintiff repeats and realleges the allegations contained in Paragraphs 1 through 5

as if fully enumerated herein.

          7.    The Cargo was delivered to the CES for examination by the United States

Department of Agriculture.


          8.    On or about August 26, 2009, the United States Department of Agriculture issued

an Emergency Action Notification effecting the Cargo, stating the Cargo must be re-exported or

destroyed because it contained a prohibited product.


          9.    William Lake, President of Defendant International Intranco, Inc., arranged for

the customs examination to occur at Plaintiffs CES at the "usual rates".


          10.   CES rates are governed by the CES's application to the Port Director. Plaintiffs

schedule of rates are attached hereto as Exhibit A.


          11.   On January 11, 2010, HREW, L.L.C. notified APL that the container had been

released. The notification also indicated that payment must be received and the container must

leave HREW, L.L.C.'s premises on or before the "last free day of storage" which is indicated to

be "asap".


          12.   APL replied that it was "OK" to Steamship line release to customer's trucker of

choice.
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       13.       The cargo was in a refrigerated container, causing Plaintiff to expend significant


funds on electricity every day.       In addition, the container was not properly maintained.

Therefore, Plaintiff incurred additional expenses repairing the container to prevent the cargo


from spoiling.


        14.      In July 2010, Plaintiff received a Notice from the Department of Agriculture


demanding the destruction of the Cargo.


        15.      On July 29, 2010, with the permission of the USDA, Plaintiff disposed of the


Cargo by dumping it in a landfill, at a cost of $6,090.00.

        16.      Defendant owes charges for storage from August 26, 2009 until July 29, 2010 in

the amount of $33,600.00.

        17.      Defendant owes charges for refrigeration from August 26, 2009 until July 29,

2010 in the amount of $68,750.00.


        18.      Defendant owes examination and other charges in the amount of $ 1,259.00.

        19.      Defendant owes Plaintiff $7,768.00 for the cost of destruction and disposal.


       20.       When sending the cargo to Plaintiffs warehouse for inspection, Defendant agreed


to pay certain charges, totaling $111,377.00.


       21.       Defendants have refused to pay the charges they owe to Plaintiff.


       22.       Defendants refused to reclaim or otherwise dispose of the cargo, forcing HREW

to arrange and pay for disposal of the cargo.


       23.       Defendants are in breach of their obligations to the Plaintiff to pay storage and

other charges to the Plaintiff pursuant to 19 U.S.C. §1499 el. seq. and the applicable Codes of

Federal Regulations applying to the examination of imports.
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          WHEREFORE, Plaintiff HREW, L.L.C. requests that the Court award to HREW, L.L.C.


damages in the amount of $111,377.00, and such other relief as the Court deems appropriate.


                                                           HREW, L.L.C.




                                                           By:
                                                                    OfCouns/l


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